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                  28 U.S.C. § 1746 DECLARATION OF JAMES LEBLANC

Pursuant to 28 U.S.C. § 1746, I hereby declare as follows:

         1.     My name is James Leblanc. I am over twenty-one (21) years of age and of sound

and disposing mind. I have never been convicted of a felony or a crime involving dishonesty or

false statement. I have knowledge of, and am competent to testify about, the matters stated in this

Declaration. I am under no legal or other disability. The facts stated herein are true and correct to

the best of my knowledge and belief.

         2.     I am currently employed as the Secretary for the Louisiana Department of Public

Safety and Corrections ("DOC").

         3.     I am aware of the ongoing lawsuit involving the Louisiana Office of Juvenile

Justice's ("OJJ's") Bridge City Center for Youth at West Feliciana ("BCCY-WF"), styled Alex A.,

et al. v. Edwards, et al., Civ. A. No. 3:22-CV-00573-SDD-RLB.

         4.     The Angola Reception Center is the building on campus at Louisiana State

Penitentiary previously occupied by BCCY-WF.

         5.     For the foreseeable future, DOC intends to use the Angola Reception Center for

housing only adult imnates.



        I declare under penalty of perjury that the above and foregoing is true and correct to the
best of my knowledge, information, and belief.

Dated: February ______!j_, 2024.



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